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 9

10                                UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                     SAN FRANCISCO DIVISION

13   TIMOTHY WHITE, an individual; ROBERT                Case No. C 12-01978 RS
     L. BETTINGER, an individual; and
14   MARGARET SCHOENINGER, an individual,
15                                                       PETITION FOR WRIT OF MANDAMUS
                    Petitioners and plaintiffs,          (CODE CIV. PROC., § 1085), OR IN THE
16                                                       ALTERNATIVE, FOR WRIT OF
            vs.                                          ADMINISTRATIVE MANDAMUS (CODE
17                                                       CIV. PROC., § 1094.5); FIRST AMENDED
     THE UNIVERSITY OF CALIFORNIA; THE                   COMPLAINT FOR DECLARATORY
18   REGENTS OF THE UNIVERSITY OF                        AND INJUNCTIVE RELIEF (CODE CIV.
     CALIFORNIA; MARK G. YUDOF, in his                   PROC., §§ 526a, 1060)
19   individual and official capacity as President of
     the University; MARYE ANNE FOX, in her
20   individual and official capacity as Chancellor of
     the University of California, San Diego; GARY
21   MATTHEWS, in his individual and official
     capacity as Vice Chancellor of the University of
22   California, San Diego; KUMEYAAY
     CULTURAL REPATRIATION COMMITTEE;
23   and DOES 1-50, inclusive,
24
                    Respondents and defendants.
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     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1          1.      Petitioners and plaintiffs, TIMOTHY WHITE (“WHITE”), ROBERT L.
 2 BETTINGER (“BETTINGER”), and MARGARET SCHOENINGER (“SCHOENINGER”),

 3 (collectively “petitioners” or “plaintiffs”), allege as follows:

 4                                               PARTIES
 5          2.      Plaintiff WHITE is an individual who lives in Berkeley, California. He is a real
 6   property owner in and resident of the County of Alameda and the State of California, and pays
 7   federal, state, and local taxes. WHITE is a professor of Integrative Biology at the University of
 8   California, Berkeley. He holds Bachelor of Science degrees in both Biology and Anthropology
 9   from the University of California, Riverside, and a Master of Arts and Ph.D. in Biological
10   Anthropology from the University of Michigan, Ann Arbor. He is renowned for his work in the
11   study of ancient humans. For example, in the 1990’s, WHITE led an expedition in Ethiopia that
12   resulted in the discovery of a 4.4 million-year-old skeleton, dubbed “Ardi,” which predated Lucy
13 by 1.2 million years.

14          3.      Plaintiff BETTINGER is an individual who lives in Davis, California. He is a
15   real property owner in and resident of the County of Solano and the State of California, and pays
16   federal, state, and local taxes. BETTINGER is a professor of Anthropology at the University of
17   California, Davis. He holds a Bachelor of Arts and a Ph.D. in Anthropology from the University
18   of California, Riverside. BETTINGER’s scholarship and fieldwork have focused on hunter-
19   gatherers and the population expansions of hunter-gatherers.
20          4.      Plaintiff SCHOENINGER is an individual who lives in Encinitas, California. She
21 is a real property owner in and resident of the County of San Diego and the State of California,

22 and pays federal, state, and local taxes. SCHOENINGER is a professor of Anthropology at the

23 University of California, San Diego. She holds a Bachelor of Arts in Anthropology from the

24 University of Florida, a Master of Arts in Anthropology from the University of Cincinnati, and a

25 Ph.D. in Anthropology from the University of Michigan. SCHOENINGER’s research centers on

26 the subsistence strategies of early humans.

27          5.      Defendant UNIVERSITY OF CALIFORNIA (“UNIVERSITY”) is a public trust
28 established by article IX of the California Constitution.

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 1           6.         Defendant THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
 2   (“REGENTS”) is a public corporation that administers the UNIVERSITY. (Cal. Const., art. IX,
 3   § 9, subd. (a).)
 4           7.         Defendant MARK YUDOF (“YUDOF”) is an individual, who serves as President
 5   of the UNIVERSITY. The President is the chief executive officer of the UNIVERSITY, and
 6   governs through authority delegated by the REGENTS. The President is responsible directly to
 7   the REGENTS. Moreover, the President “shall serve as the guardian of the public trust, ensuring
 8   legal and ethical compliance, managing system risk, and providing information regarding
 9   University activities.” (See Regents Policy 1500, Statement of Expectations of The President of
10   The University (March 2011) (“Regents Policy”), available at
11   http://www.universityofcalifornia.edu/regents/policies/1500.html.) YUDOF is sued here in his
12   individual and official capacities.
13           8.         Defendant MARYE ANNE FOX (“FOX”) is an individual employed by
14   employed by the UNIVERSITY as the Chancellor of its San Diego campus (“UCSD”). The
15   campus Chancellor is the chief campus officer and executive head of all campus activities. FOX
16   is sued here in her individual and official capacities.
17           9.         Defendant GARY MATTHEWS (“MATTHEWS”) is an individual employed by
18   the UNIVERSITY as Vice Chancellor, Resource Management and Planning, at UCSD. He is
19   sued here in his individual and official capacities.
20           10.        Defendant KUMEYAAY CULTURAL REPATRIATION COMMITTEE
21   (“KCRC”) is a California corporation that represents the following twelve federally recognized
22   Kumeyaay Indian tribes: Barona Group of Capitan Grande Band of Mission Indians of the
23   Barona Reservation, California; Campo Band of Diegueno Mission Indians of the Campo Indian
24   Reservation, California; Ewiiaapaayp Band of Kumeyaay Indians, California; Iipay Nation of
25   Santa Ysabel, California (formerly the Santa Ysabel Band of Diegueno Mission Indians of the
26   Santa Ysabel Reservation); Inaja Band of Diegueno Mission Indians of the Inaja and Cosmit
27   Reservation, California; Jamul Indian Village of California; La Posta Band of Diegueno Mission
28   Indians of the La Posta Indian Reservation, California; Manzanita Band of Diegueno Mission
                                               3
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 1   Indians of the Manzanita Reservation, California; Mesa Grande Band of Diegueno Mission
 2   Indians of the Mesa Grande Reservation, California; San Pasqual Band of Diegueno Mission
 3   Indians of California; Sycuan Band of the Kumeyaay Nation; and the Viejas (Baron Long)
 4   Group of Capitan Grande Band of Mission Indians of the Viejas Reservation, California.
 5          11.     Plaintiffs do not know the true names and capacities of defendants DOES 1
 6   through 50, inclusive, and therefore sue these defendants by such fictitious names. Plaintiffs
 7   may amend this Writ Petition and Complaint to allege their true names and capacities when
 8   ascertained. Plaintiffs are informed and believe that each of the fictitiously named defendants is
 9   responsible in some manner for the occurrences herein alleged, and that the illegal acts as herein
10   alleged were proximately caused by their conduct.
11          12.     At all times referenced herein, defendants, including those named as DOES 1
12   through 50, were the agents, servants, and employees of their co-defendants, and in doing the
13   things alleged were acting in the scope of their authority as such agents, servants and employees,
14   under the direction and supervision and with the permission and consent of their co-defendants.
15                                        GENERAL ALLEGATIONS
16          13.     In 1976, Professor Gail Kennedy of UCLA led an archaeological field excavation
17   project on University property in San Diego (the “site”). The Chancellor’s official residence,
18   University House, is also located on the site. Professor Kennedy’s team discovered a rare double
19   burial. The bones have great scientific significance due to the age of the two skeletons (“La Jolla
20   Skeletons”), which are estimated to date back 8977 to 9603 years ago. The La Jolla Skeletons
21   are extremely old by North American osteological standards. They are similar to, though likely
22   older than, another skeleton found in Kennewick in 1996, which was the subject of federal
23   litigation that resolved in 2004. (See Bonnichsen v. United States (9th Cir. 2004) 367 F.3d 864.)
24   Because of their extreme age and relatively good condition, the La Jolla Skeletons represent a
25   unique opportunity for all people to understand human origins in North America.
26          14.     The SAN DIEGO ARCHAEOLOGICAL CENTER (“SDAC”) presently has
27   physical custody of the La Jolla Skeletons, and holds them on behalf of the UNIVERSITY. The
28   SDAC is a California nonprofit corporation located in Escondido, California. By taking custody
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 1   of the La Jolla Skeletons on behalf of the UNIVERSITY, the SDAC is acting as the
 2   UNIVERSITY’s agent with respect to the La Jolla Skeletons.
 3          15.     In 1990, Congress passed the Native American Graves Protection and
 4   Repatriation Act (“NAGPRA”). NAGPRA imposes various requirements on, inter alia, state
 5   government agencies and institutions of higher learning that receive federal funds, and that hold
 6   “Native American” human remains or cultural items. NAGPRA defines “Native American” as
 7   follows:
 8          ‘Native American’ means of, or relating to, a tribe, people, or culture that is
            indigenous to the United States.
 9

10   (25 U.S.C. § 3001(9).) The Ninth Circuit has held that human remains must bear some
11   relationship to a presently existing tribe, people, or culture to be considered “Native American”
12   within the meaning of NAGPRA. (See Bonnichsen v. United States, supra, 367 F.3d at 875-76.)
13   NAGPRA does not apply to remains that are not “Native American” or “Native Hawaiian.” For
14   remains or cultural items that are “Native American,” NAGPRA may require that they be
15   “repatriated” or returned to a tribe, depending on whether or not certain conditions are met.
16   NAGPRA’s statutory scheme does not require repatriation of “culturally unidentifiable” human
17   remains, however.
18          16.     NAGPRA requires those entities subject to it to compile an inventory of “Native
19   American” human remains and cultural objects in their possession, and to submit the inventory
20   to the DOI. (25 U.S.C. § 3003.)
21          17.     The UNIVERSITY has created a system-wide University Advisory Group on
22   Cultural Repatriation and Human Remains and Cultural Items (“Advisory Group”). (See
23   University of California Policies and Procedures On Curation and Repatriation of Human
24   Remains and Cultural Items (“Human Remains Policies”).) The Human Remains Policies are
25   attached as Exhibit A. If a tribe requests repatriation, the Advisory Group must review all
26   campus determinations and report its findings and recommendations to the President or the
27   President’s designee. The President or the President’s designee has final authority to approve or
28   disapprove determinations regarding disposition of remains and cultural items.
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 1           18.    Under the Human Remains Policies, each campus with a collection of Native
 2   American remains or cultural items must designate a liaison to work with native communities
 3   considering or requesting repatriation from the UNIVERSITY. Defendant MATTHEWS is the
 4   liaison for the San Diego campus.
 5           19.    The Kumeyaay Nation (“Kumeyaay”), a coalition of 12 Native American tribes,
 6   claims to have occupied the site on which the La Jolla Skeletons were found. Although the
 7   Kumeyaay have asserted that the La Jolla Skeletons are culturally affiliated with their coalition
 8   of tribes, there is insufficient evidence to support the conclusion that the Kumeyaay are
 9   descended from the people who were buried at the site, approximately 10,000 years ago. In
10   addition, there is insufficient evidence to conclude that any Kumeyaay tribe actually occupied
11   the site at the time the La Jolla Skeletons were buried there. The evidence does not support a
12   finding that there is any link between the La Jolla Skeletons and any Kumeyaay tribe, or any
13   currently existing Native American tribe, for the following reasons, among other reasons:
14                  a.      The burial pattern of the La Jolla Skeletons differs from that of the
15           Kumeyaay as reported in early ethnographies. Before the Spanish explorers made
16           contact with North America, the Kumeyaay cremated, rather than buried, their dead.
17                  b.      Preliminary carbon and nitrogen stable isotope analysis of human bone
18           collagen from the La Jolla Skeletons is consistent with a year-round diet of open-ocean
19           and some nearshore marine fish or marine mammals. This contrasts with the diet of the
20           Kumeyaay, who lived on wild plants, supplemented with more small than large game,
21           and in some places, fish. Seasonal dependence on marine foods would produce lower
22           values of the isotope signals than those recovered from the La Jolla Skeletons.
23                  c.      The skeletal morphology of the La Jolla Skeletons does not show any link
24           to the Kumeyaay, or any other Native American tribe. The La Jolla Skeletons have long,
25           narrow cranial vaults and short, relatively narrow faces compared with extant Native
26           Americans. A detailed 2007 morphological study by Professor Douglas Owsley
27           concluded the La Jolla Skeletons were not Native American.
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 1                  d.      Because there has been no genetic testing of the La Jolla Skeletons
 2          (because the UNIVERSITY has not allowed any testing), there is no genetic or DNA
 3          evidence linking the Kumeyaay or any other Native American tribe to the La Jolla
 4          Skeletons.
 5          20.     On or about October 22, 2008, the UNIVERSITY submitted a “Notice of
 6   Inventory Completion” and inventory to the United States Department Of The Interior (“DOI”),
 7   which included the La Jolla Skeletons and various other items said to be associated with the
 8   remains. The DOI includes, as a bureau, the National Park Service (“NPS”). In turn, the NPS
 9   includes the Native American Graves Protection and Repatriation Review Committee
10   (“NAGPRA Review Committee”).
11          21.     The inventory was based on a 2008 report written by the local UC San Diego
12   NAGPRA Review Committee. The 2008 report was silent on whether the La Jolla Skeletons
13   were “Native American” within the meaning of NAGPRA, and made no attempt to determine
14   whether or not the La Jolla Skeletons were subject to NAGPRA. The 2008 report did conclude,
15   however, that there was insufficient evidence to conclude the remains were culturally affiliated
16   with the Kumeyaay.
17          22.     Because there is insufficient evidence to conclude the La Jolla Skeletons are
18   “Native American” within the meaning of NAGPRA, defendants’ decision to include them on
19   the October 22, 2008 inventory was legally erroneous. NAGPRA and its accompanying
20   regulations do not apply to the La Jolla Skeletons at all, because the La Jolla Skeletons do not
21   fall within the class of human remains that NAGPRA covers. Therefore, the La Jolla Skeletons
22   should not have been included on any federal inventory.
23          23.     On or about February 23, 2009, MATTHEWS submitted to the DOI, through its
24   NAGPRA Review Committee, a Request by a Museum or Federal Agency that the Review
25   Committee Act on an Agreement Concerning the Disposition of Human Remains and Associated
26   Funerary Objects Determined to be Unidentifiable (“2009 Repatriation Request”).
27   MATTHEWS requested that the DOI approve an agreement between FOX and the
28   KUMEYAAY CULTURAL REPATRIATION COMMITTEE (“KCRC”) to transfer custody of
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 1   the La Jolla Skeletons to the KCRC. The KCRC is a coalition of 12 different Kumeyaay tribes
 2   of San Diego County. The 2009 Repatriation Request was later withdrawn.
 3             24.    In 2010, the DOI and its Secretary Ken Salazar (“Salazar”) purported to
 4   promulgate a new federal regulation governing the disposition of “culturally unidentifiable”
 5   human remains that meet NAGPRA’s definition of “Native American.” For all “culturally
 6   unidentifiable” “Native American” human remains, Salazar and the DOI purported to impose the
 7   following requirements, among other requirements:
 8                    a.      Requirements that the federal agency or museum in possession of the
 9             remains consult with tribal representatives concerning culturally unidentifiable remains
10             and associated funerary objects;
11                    b.      Requirements that federal agencies and museums offer to transfer control
12             of such remains to “(i) [t]he Indian tribe . . . from whose tribal land, at the time of the
13             excavation or removal, the human remains were removed; or (ii) [t]he Indian tribe or
14             tribes that are recognized as aboriginal to the area from which the human remains were
15             removed,” unless the agency or museum can prove a right of possession;
16                    c.      Authorization for federal agencies and museums to transfer control to
17             other tribes or Native Hawaiian organizations, in the event no tribe described above
18             agrees to accept the remains; and
19                    d.      Notification requirements.
20             25.    On or about June 4, 2010, YUDOF wrote to FOX, stating that he planned to give
21   “significant deference” to the Chancellors of the respective UC campuses regarding decisions
22   about the disposition of remains. YUDOF instructed FOX that the UCSD campus had the
23   responsibility to conduct consultations and analysis required under NAGPRA, and to make
24   initial determinations and recommendations regarding cultural affiliation. YUDOF further
25   instructed FOX that once UCSD completed its assessment, it should determine whether it needed
26   to amend the previous NAGPRA inventory or prepare a new draft Notice of Inventory
27   Completion.
28   ///
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 1          26.     The La Posta Band of Diegueno Mission Indians of the La Posta Reservation (“La
 2   Posta Band of Mission Indians”) is a federally recognized tribe of Kumeyaay people.
 3          27.     On or about August 2, 2010, Steve Banegas, a spokesperson for the KCRC, wrote
 4   to the UCSD campus and requested that the La Jolla Skeletons be repatriated to the La Posta
 5   Band of Mission Indians, along with certain other objects previously excavated from the site.
 6          28.     On or about October 21, 2010, MATTHEWS circulated a new Draft Notice of
 7   Inventory Completion (“Draft Notice”) for review by the Advisory Group. The new notice was
 8   deficient for many reasons. It referred to “associated funerary items,” even though the published
 9   paper describing the burials stated that no cultural items were found in association with the La
10   Jolla Skeletons. It asserted that stone and shell recovered from the site was “reasonably believed
11   to have been placed with or near” the La Jolla Skeletons, “at the time of death or later as part of
12   the death rite or ceremony,” without any factual support, and in apparent contradiction to Gail
13   Kennedy’s account of the excavation. The Draft Notice referred to the La Jolla Skeletons as
14   “Native American,” despite a detailed 2007 morphological study by Professor Owsley
15   concluding they were not Native American. Finally, the Draft Notice stated that a detailed
16   assessment of the La Jolla Skeletons had been made by UC professional staff, when in fact, the
17   only staff who had seen the La Jolla Skeletons included Gail Kennedy (who did not refer to them
18   as Native American), Philip Walker (now deceased, who concluded they were not Native
19   American), and plaintiff SCHOENINGER. SCHOENINGER never made any determination that
20   the remains were “Native American” within the meaning of NAGPRA, nor was she asked to do
21   so. In its responses to comments published along with the final version of 43 C.F.R. § 10.11, the
22   DOI included language indicating that museums must make a “threshold determination” that
23   culturally unidentifiable remains are “Native American” before including them on a federal
24   inventory. (See 75 Fed.Reg. 12387 (response to Comment 55).)
25          29.     On or about March 2, 2011, the Advisory Group considered MATTHEWS’ Draft
26 Notice and submitted a summary and report. The Advisory Group recommended that UCSD

27 should not forward the Draft Notice without further consultation with tribes other than the

28 Kumeyaay. The Advisory Group also recommended that the San Diego campus reanalyze

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 1   whether the supposed “associated funerary objects” are, in fact, funerary objects, and if not, to
 2   revise the Draft Notice accordingly. The Advisory Group did not reach a consensus on any other
 3   recommendations.
 4          30.     On or about May 11, 2011, YUDOF wrote to FOX, stating that he intended to
 5 defer to the campus’s determination on the issue of whether or not the remains were “Native

 6 American” under NAGPRA, and to authorize the campus to proceed under the NAGPRA

 7 process. YUDOF authorized UCSD to dispose of the La Jolla Skeletons under NAGPRA,

 8 subject to the following directions and recommendations:

 9                  a.      UCSD was required to reanalyze, including through expert analysis,
10          whether the materials listed on the Draft Notice were funerary objects, and if not, to
11          revise the Draft Notice.
12                  b.      YUDOF advised UCSD to revise its Notice of Inventory Completion to
13          acknowledge an alleged “division among experts” on the issue of whether the La Jolla
14          Skeletons are “Native American” within the meaning of NAGPRA.
15                  c.      YUDOF instructed UCSD to consult more broadly with other tribes in the
16          region. Following this consultation, if UCSD determined that additional tribes were
17          aboriginal to the site, YUDOFF instructed UCSD to revise its Notice of Inventory
18          Completion accordingly. If there were no competing claims, however, YUDOF
19          authorized FOX to dispose of the La Jolla Skeletons to the La Posta Band of Mission
20          Indians in accordance with NAGPRA, 30 days after publication in the Federal Register.
21          31.     The La Jolla Skeletons are in good enough condition that it may be possible to
22   retrieve DNA samples and perform DNA sequencing. Not only would this provide a wealth of
23   information of interest to the general public, such sequences also could be used to assess whether
24   or not the remains share any genetic affiliation with modern Native American groups.
25          32.     FOX and UCSD have authority to grant requests to study the La Jolla Skeletons,
26   but have refused to allow any research to be conducted.
27          33.     On or about August 16, 2010, BETTINGER requested permission to study the La
28   Jolla Skeletons. He proposed to perform (1) macro-morphological work; (2) stable isotope
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 1   analyses to determine diet and place of origin; and (3) ancient DNA work to establish genetic
 2   affinity. These studies are essential to understanding the colonization of California and Western
 3   North America, and of the New World generally. These studies are also central to
 4   BETTINGER’s long-standing research on hunter gatherers and hunter gatherer expansions. Dr.
 5   Art Ellis, UCSD Vice Chancellor for Research, replied that UCSD was finalizing procedures for
 6   dealing with such requests and that while he (Ellis) was shortly leaving UCSD, he had forwarded
 7   BETTINGER’s request to Associate Vice Chancellor George Tynan, whom BETTINGER could
 8   look forward to hearing from. BETTINGER never heard back from Tynan. If the repatriation
 9 does not go forward, BETTINGER and other experts in the field of ancient DNA and stable

10 isotope analysis plan to pursue these studies. Because they are so well preserved, and because

11 there are two of them, the La Jolla Skeletons present a unique opportunity to study patterns at a

12 population level rather than an individual level, enabling scientists to apply the results of the

13 studies in a wide variety of other contexts. No other set of New World remains holds such a high

14 degree of research potential.

15          34.     In or about April, 2009, WHITE asked to study the La Jolla Skeletons. He
16 engaged in communications with various UNIVERSITY representatives regarding his request

17 from 2009 to 2011 without ever receiving a final response to his request. For WHITE, the La

18 Jolla Skeletons represent part of a worldwide sample of early humanity, which is critical to the

19 understanding of the species, Homo sapiens. If the La Jolla Skeletons are not repatriated,

20 WHITE still plans to study them.

21          35.     In 2009, SCHOENINGER spoke informally to the Senior Vice Chancellor for
22 Academic Affairs, Paul Drake, and the then Vice Chancellor for Research at UCSD, Art Ellis,

23 about studying the La Jolla Skeletons. She gave a presentation to the Academic Senate Council

24 regarding the research value of the skeletons in 2009. The Academic Senate Council told

25 SCHOENINGER she could not study the La Jolla Skeletons or involve herself further in any

26 requests to study them, because she allegedly had a “conflict of interest.” SCHOENINGER

27 wants to preserve the opportunity to study the La Jolla Skeletons in the future, especially in the

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 1   event that studies by BETTINGER or WHITE implicate new research questions in her area of
 2   focus.
 3            36.   The University’s policy is that remains and cultural items shall normally remain
 4   accessible for research by qualified investigators such as plaintiffs. Therefore, it is highly
 5   probable that plaintiffs will be allowed to study the La Jolla Skeletons if they remain in the
 6   University’s possession.
 7            37.   On or about December 5, 2011, defendants published, or caused to be published,
 8   in the Federal Register, a Notice of Inventory Completion: The University of California, San
 9   Diego, San Diego, CA (“Repatriation Notice”). The Repatriation Notice is attached as Exhibit
10   B. The Repatriation Notice stated that if no one else came forward and claimed the La Jolla
11   Skeletons by January 4, 2012, the La Jolla Skeletons would be repatriated to the La Posta Band
12   of Mission Indians after that date. The Repatriation Notice also made the following purported
13   findings, among other findings:
14                  a.      The La Jolla Skeletons are “Native American,” pursuant to 25 U.S.C. §
15   3001(9).
16                  b.      Pursuant to 25 U.S.C. § 3001(2), a relationship of shared group identity
17   cannot be reasonably traced between the La Jolla Skeletons and any present-day Indian tribe.
18                  c.      Pursuant to 25 U.S.C. § 3001(3)(A), approximately 25 objects found at the
19   site are “reasonably believed to have been placed with or near” the La Jolla Skeletons, “at the
20   time of death or later as part of the death rite or ceremony.”
21                  d.      Pursuant to 43 C.F.R. § 10.11(c)(1), and based upon request from the
22   KUMEYAAY CULTURAL REPATRIATION COMMITTEE, on behalf of the 12 associated
23   Kumeyaay tribes, disposition of the La Jolla Skeletons is to the La Posta Band of Diegueno
24   Mission Indians of the La Posta Indian Reservation, California.
25            38.   On or about January 25, 2012, the parties entered into a Tolling Agreement, by
26   which respondents and defendants agreed that, “any and all statutes of limitation applicable to
27   any claims whatsoever that plaintiffs may have against defendants relating to the La Jolla
28   Skeletons that have not already expired shall be tolled to and including April 16, 2012.”
                                               12
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1

 2             PETITION FOR WRIT OF MANDAMUS (Code Civ. Proc. § 1085),
         OR IN THE ALTERNATIVE, FOR WRIT OF ADMINISTRATIVE MANDAMUS
 3                            (Code Civ. Proc. § 1094.5)
 4     [All Petitioners Against UNIVERSITY, REGENTS, YUDOF, FOX, MATTHEWS, And
                                    DOES 1-50, INCLUSIVE]
 5

 6          39.     Petitioners hereby incorporate by reference paragraphs 1 through 38, inclusive.

 7          40.     NAGPRA only applies to the La Jolla Skeletons if they meet the legal definition

 8   of “Native American” under NAGPRA. Title 43, part 10.11, subdivision (a) of the Code of

 9   Federal Regulations also specifically states that it applies “to human remains previously

10   determined to be Native American under § 10.9, but for which no lineal descendant or culturally

11   affiliated Indian tribe or Native Hawaiian organization has been identified.ˮ

12          41.     Under NAGPRA and its accompanying regulations, the UNIVERSITY,

13   REGENTS, YUDOF, FOX, MATTHEWS, and DOES 1-50, INCLUSIVE, (collectively, “the

14   Regents”), have a clear, present, mandatory and ministerial duty to make a formal determination

15   whether or not the La Jolla Skeletons are “Native American” within the meaning of NAGPRA,

16   before repatriating them under the alleged authority of 43 C.F.R. § 10.11.

17          42.     Under article I, sections 7 and 15 of the California Constitution, and the

18   Fourteenth Amendment to the United States Constitution, the Regents have a clear, present,

19   mandatory and ministerial duty to comply with the minimum requirements of due process,

20   including a clear, present, mandatory and ministerial duty to avoid imposition of arbitrary

21   adjudicative procedures.

22          43.     In addition, the Regents have a clear, present, mandatory and ministerial duty to

23   administer the UNIVERSITY as a public trust, pursuant to the state constitutional mandate.

24   “[D]ecisions are to be made solely to promote the best interests of the University as a public

25   trust, rather than the interests of a particular constituency, and that Board members will disclose

26   personal, familial, business relationships, or other potential conflicts of interest as appropriate.”

27   (See Regents Policy 1100, Statement Of Expectations Of The Members Of The Board Of

28 Regents (Jan. 2010), available at http://www.universityofcalifornia.edu/regents/policies/

                                               13
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1   1100.html.) The public has an interest in preserving scientifically and historically significant
 2   items, as does the UNIVERSITY.
 3           44.     Petitioners are beneficially interested in the issuance of a writ of mandamus,
 4   because they have a clear, present, substantial and vested right in the Regents’ performance of
 5   their duty to determine whether or not NAGPRA and its accompanying regulations actually
 6   apply to the La Jolla Skeletons, before the Regents dispose of them to the Kumeyaay. A
 7   disposition without such a formal determination would arbitrarily and illegally destroy the La
 8   Jolla Skeletons’ incalculable scientific value to petitioners, and to the public at large, and would
 9   violate NAGPRA.
10           45.     In addition, petitioners are beneficially interested as citizens and taxpayers in the
11 Regents’ performance of their duties under the law. The Regents’ threatened act of repatriation

12 not only would deprive petitioners’ of any opportunity to research the La Jolla Skeletons, it

13 would also arbitrarily and illegally deprive all members of the public of the opportunity to

14 understand the origins of humanity in North America.

15           46.     The above-described actions of the Regents, including but not limited to, the
16 Regents’ inclusion of the La Jolla Skeletons on the October 22, 2008 Notice of Inventory

17 Completion and the Repatriation Notice, were arbitrary and capricious, in excess of the Regents’

18 jurisdiction, a prejudicial abuse of their discretion, and/or there was not a fair trial, for, inter alia,

19 the following reasons:

20                   a.      The Regents failed to make a formal and adequate finding or
21           determination whether or not the La Jolla Skeletons are “Native American” under
22           NAGPRA. On information and belief, the Regents failed to consider any evidence or
23           conduct a hearing on this issue. In failing to make this decision using procedures that
24           meet minimum constitutional standards, and in making their purported “findings” without
25           considering any evidence or providing petitioners a full and fair opportunity to present
26           evidence, the Regents acted in an arbitrary and capricious manner, in violation of
27           petitioners’ fundamental due process rights, and in violation of the Regents’ duty to
28           administer the University as a public trust;
                                               14
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1                b.      For the same reasons, the Regents’ decision to include the La Jolla
 2         Skeletons on the October 22, 2008 Notice of Inventory Completion and the Repatriation
 3         Notice was not supported by an adequate finding or determination that the La Jolla
 4         Skeletons are “Native American” under NAGPRA;
 5                c.      To the extent the Regents made a formal finding or determination that the
 6         La Jolla Skeletons were “Native American” under NAGPRA, their determination was
 7         arbitrary and capricious, not supported by the weight of the evidence, and/or was not
 8         supported by substantial evidence in light of the whole record. The Regents’ decision
 9         was further flawed in that the Regents apparently based their decision on the geographic
10         relationship of the Kumeyaay to the UCSD site, even though the “aboriginal territories”
11         occupied and defined for historic Indian tribes are not in any way linked to the prehistoric
12         territories that their lineal ancestors may have occupied;
13                d.      Petitioners were not allowed to present evidence in opposition to the
14         Regents’ summary conclusion that the La Jolla Skeletons were “Native American” within
15         the meaning of NAGPRA;
16                e.      On information and belief, the Regents did not reanalyze whether the
17         materials listed on the Draft Notice were funerary objects, as required by YUDOF’s May
18         11, 2011 letter;
19                f.      On information and belief, the Regents’ purported finding that the 25
20         objects were “reasonably believed” to have been placed at the site at or near the time of
21         death or later as part of the “death rite or ceremony” is not supported by any evidence in
22         the record, and/or petitioners were not allowed to present evidence in opposition to the
23         Regents’ summary conclusion. The Regents’ purported finding is arbitrary and
24         capricious ;
25                g.      The Human Remains Policies that the Regents’ followed in drafting and
26         submitting the Notice of Inventory Completion and Repatriation Notice are fatally
27         flawed, because they provide no guidelines for determining whether remains are “Native
28         American” within the meaning of NAGPRA. Furthermore, they provide no standards
                                               15
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1          governing what evidence is admissible on the question of whether the remains are
 2          “Native American” within the meaning of NAGPRA, or what weight the evidence is to
 3          be given. The lack of standards renders it impossible for petitioners to challenge the
 4          evidence presented or the Regents’ summary conclusion. The Human Remains Policies
 5          do not provide notice of what evidence may be relied upon in the evaluation of whether
 6          remains are or are not “Native American.” The lack of procedures and standards renders
 7          the Human Remains Policies unconstitutionally vague and violates due process.
 8          47.     By including the La Jolla Skeletons on the October 22, 2008 Notice of Inventory
 9   Completion and Repatriation Notice, the Regents acted in an arbitrary and capricious manner and
10   in violation of petitioners’ and the public’s right to a fair determination of whether or not the La
11   Jolla Skeletons are “Native American” within the meaning of NAGPRA.
12          48.     Petitioners have no plain, speedy, and adequate remedy in the ordinary course of
13   law other than the relief sought by this petition.
14          49.     Petitioners have exhausted all administrative procedures required of them by law.
15          50.     If the relief sought by this petition is not granted, petitioners and the general
16 public will suffer irreparable injury and harm, in that the ability to study the La Jolla Skeletons

17 will be lost forever. Petitioners are informed and believe that the Regents will repatriate the

18 remains to the La Posta Band of Mission Indians as soon as possible after January 4, 2012,

19 unless the Regents are restrained by this Court. Petitioners are informed and believe that the La

20 Posta Band of Mission Indians will fail to maintain the skeletons in a manner that preserves their

21 scientific value, and therefore the skeletons’ scientific value will be destroyed, unless the

22 Regents are restrained by this Court.

23          WHEREFORE, petitioners pray for judgment against the Regents as set forth below.
24 ///

25 ///

26 ///

27 ///

28 ///

                                               16
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1                                            COMPLAINT
 2        FIRST CAUSE OF ACTION – DECLARATORY AND INJUNCTIVE RELIEF -
                  VIOLATION OF NAGPRA (Code Civ. Proc. §§ 526a, 1060)
 3
                                 [All Plaintiffs Against All Defendants]
 4

 5          51.     Plaintiffs hereby incorporate by reference paragraphs 1 through 50, inclusive.
 6          52.     NAGPRA only applies to the La Jolla Skeletons if they meet the legal definition
 7 of “Native American” under NAGPRA. Title 43, part 10.11, subdivision (a) of the Code of

 8 Federal Regulations also specifically states that it applies “to human remains previously

 9 determined to be Native American under § 10.9, but for which no lineal descendant or culturally

10 affiliated Indian tribe or Native Hawaiian organization has been identified.” Defendants’

11 UNIVERSITY, REGENTS, YUDOF, FOX, MATTHEWS, and DOES 1-50, inclusive,

12 (collectively, “the Regents”) approval of the transfer of the La Jolla Skeletons to the La Posta

13 Band of Mission Indians is illegal, invalid, null and void, because the Regents failed to make a

14 finding or determination, or failed to make an adequate finding or determination, that the remains

15 are “Native American” within the meaning of NAGPRA. Defendants’ actions are also illegal,

16 invalid, null and void to the extent the Regents concluded the remains were “Native American,”

17 because their conclusion is not supported by the evidence.

18          53.     The Regents have expended public funds in support of their illegal efforts to
19 repatriate the La Jolla Skeletons, without determining whether they are “Native American”

20 within the meaning of NAGPRA, and/or without considering all of the evidence concerning

21 whether or not the La Jolla Skeletons are “Native American” within the meaning of NAGPRA.

22          54.     An actual, present controversy exists between plaintiffs and the Regents, because
23 plaintiffs contend and the Regents deny that that the Regents’ actions in approving the transfer of

24 the La Jolla Skeletons to the La Posta Band of Mission Indians are illegal, invalid, null and void.

25          55.     An actual, present controversy exists between plaintiffs and KCRC, because
26 KCRC claims, and plaintiffs deny, that disposition of the La Jolla Skeletons should be to the La

27 Posta Band of Diegueno Mission Indians of the La Posta Indian Reservation, California.       The
28 Regents’ December 5, 2011 Repatriation Notice determining that disposition would be to the La

                                               17
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1   Posta Band of Diegueno Mission Indians of the La Posta Indian Reservation, California, states
 2   that KCRC requested disposition of the La Jolla Skeletons to the La Posta Band of Diegueno
 3   Mission Indians of the La Posta Indian Reservation, California.
 4           56.     Plaintiffs desire a judicial determination that the Regents’ actions in approving the
 5   transfer of the La Jolla Skeletons to the La Posta Band of Mission Indians are illegal, invalid,
 6   null and void. A judicial declaration is necessary and appropriate at this time, so that plaintiffs
 7   may ascertain their rights, the rights of the general public, and the Regents’ duties under the law.
 8           57.     Unless the Regents are enjoined, plaintiffs and the general public will suffer
 9 irreparable injury and harm, in that the ability to study the La Jolla Skeletons will be lost forever.

10 Plaintiffs are informed and believe that the Regents will repatriate the remains to the La Posta

11 Band of Mission Indians as soon as possible after January 4, 2012, unless the Regents are

12 restrained by this Court. Plaintiffs are informed and believe that the La Posta Band of Mission

13 Indians will fail to maintain the skeletons in a manner that preserves their scientific value, and

14 therefore the skeletons’ scientific value will be destroyed, unless the Regents are restrained by

15 this Court.

16           58.     Plaintiffs and the general public have no plain, adequate, or speedy remedy at law
17 and are entitled to injunctive relief against the Regents. Plaintiffs and the general public have no

18 administrative remedy because the Regents’ procedures for approving the transfer of the La Jolla

19 Skeletons, and the short timeframe for repatriation after the Regents published their Repatriation

20 Notice preclude any administrative relief.

21

22         SECOND CAUSE OF ACTION – DECLARATORY AND INJUNCTIVE RELIEF -
                             BREACH OF PUBLIC TRUST
23
            [All Plaintiffs Against Defendants REGENTS, YUDOF, FOX and MATTHEWS]
24
             59.     Plaintiffs hereby incorporate by reference paragraphs 1 through 58, inclusive.
25
             60.     The UNIVERSITY is a public trust established by article nine of the California
26
     Constitution.
27
     ///
28

                                               18
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1          61.     The La Jolla Skeletons are part of the public trust that is the UNIVERSITY. In
 2 addition, the UNIVERSITY maintains its collections of human remains and cultural items – to

 3 which the La Jolla Skeletons belong – as a public trust.

 4          62.     Defendants REGENTS and YUDOF are trustees of the UNIVERSITY. FOX is
 5 an agent of YUDOF when she is performing YUDOF’s duties as trustee of the UNIVERSITY.

 6 MATTHEWS is an agent of YUDOF when acting as an agent of FOX when she is performing

 7 YUDOF’s duties as trustee of the UNIVERSITY. Plaintiffs are informed and believe that

 8 YUDOF and the REGENTS neglected to take reasonable steps to compel FOX and

 9 MATTHEWS to correct what defendants knew or should have known were violations of

10 NAGPRA.

11          63.     Plaintiffs and the general public are beneficiaries of the public trust, of which the
12 La Jolla Skeletons are a part.

13          64.     Defendants have a duty to administer the UNIVERSITY as a public trust,
14   pursuant to the state constitutional mandate. (See Regents Policy 1100 (REGENTS are to serve
15   as trustees for the people of the State of California and as stewards for the University of
16   California, “acting to govern the University in fulfillment of its educational, research, and public
17   service missions in the best interests of the people of California”); see also Regents Policy 1500
18   (“The President is expected to direct the management and administration of the University of
19   California system consistent with the Bylaws and Standing Orders, administering the University
20   in fulfillment of its educational, research, and public service missions in the best interests of the
21   people of California”).) Defendants have a duty to fulfill the UNIVERSITY’s educational,
22   research, and public service missions in the best interests of the people of California.
23          65.     Defendants breached their duty to plaintiffs and to the public to administer the
24   public trust for the public interest by (1) arbitrarily and capriciously including the La Jolla
25   Skeletons on the October 22, 2008 Notice of Inventory Completion and Repatriation Notice,
26   even though defendants lacked a reasonable or good faith belief that the remains are “Native
27   American” within the meaning of NAGPRA; (2) approving the transfer of the La Jolla Skeletons
28   to the La Posta Band of Mission Indians, even though defendants lacked a reasonable or good
                                               19
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1   faith belief that the remains are “Native American” within the meaning of NAGPRA, or that they
 2   had any relationship to the tribe known as the La Posta Band of Mission Indians; (3) failing to
 3   conduct a good faith inquiry and make a formal determination whether or not the remains are
 4   “Native American” within the meaning of NAGPRA; and (4) misrepresenting that “25 objects”
 5   were “reasonably believed” to have been placed at the site at or near the time of death or later as
 6   part of the “death rite or ceremony,” contrary to Gail Kennedy’s account of the excavation.
 7          66.     An actual, present controversy exists between plaintiffs and defendants, because
 8   plaintiffs contend and defendants deny that that defendants’ actions alleged above constitute a
 9 breach of trust.

10          67.     Plaintiffs desire a judicial determination that defendants’ actions constitute a
11 breach of trust. A judicial declaration is necessary and appropriate at this time, so that plaintiffs

12 may ascertain their rights and the rights of the general public, and defendants’ duties under the

13 law.

14          68.     Plaintiffs seek to compel the trustees to perform their duties and to enjoin the
15 trustees from committing future breaches. Plaintiffs are informed and believe that defendants

16 will repatriate the remains to the La Posta Band of Mission Indians as soon as possible after

17 January 4, 2012, unless defendants are restrained by this Court. Plaintiffs are informed and

18 believe that the La Posta Band of Mission Indians will fail to maintain the skeletons in a manner

19 that preserves their scientific value, and therefore the skeletons’ scientific value will be

20 destroyed, contrary to the public interest, unless defendants are restrained by this Court.

21          69.     Plaintiffs and the general public have no plain, adequate, or speedy remedy at law
22 and are entitled to injunctive relief against defendants. Plaintiffs and the general public have no

23 administrative remedy because defendants’ procedures for approving the transfer of the La Jolla

24 Skeletons, and the short timeframe for repatriation after defendants published their Repatriation

25 Notice, preclude any administrative relief.

26 ///

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28 ///

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     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1          THIRD CAUSE OF ACTION – 42 U.S.C. § 1983 AND THE UNITED STATES
                        CONSTITUTION – FIRST AMENDMENT
 2
                  [All Plaintiffs Against Defendants YUDOF, FOX, and MATTHEWS]
 3
            70.     Plaintiffs hereby incorporate by reference paragraphs 1 through 63, inclusive.
 4
            71.     Plaintiffs have a First Amendment right to receive information and ideas. The
 5
     opportunity to use the La Jolla Skeletons for research purposes is the only means of accessing the
 6
     information and ideas contained within them.
 7
            72.     Defendants’ actions alleged above have deprived, and will continue to deprive,
 8
     plaintiffs of their right to receive information under the First Amendment to the United States
 9
     Constitution. Plaintiffs have been unable to study the remains, despite having made study
10
     requests. The government may not, “consistently with the spirit of the First Amendment,
11
     contract the spectrum of available knowledge.” (See Griswold v. Connecticut (1965) 381 U.S.
12
     479, 482.)
13
            73.     In committing the acts herein alleged, defendants were acting under color of state
14
     law.
15
            74.     Plaintiffs desire a judicial determination that defendants’ actions violate plaintiffs’
16
     First Amendment right to receive information. A judicial declaration is necessary and
17
     appropriate at this time, so that plaintiffs may ascertain their rights and the rights of the general
18
     public, and defendants’ duties under the law.
19
            75.     An actual and immediate controversy has arisen and now exists between plaintiffs
20
     and defendants related to their respective rights and duties. Plaintiffs contend, and defendants
21
     deny, that defendants’ actions have deprived, and will continue to deprive, plaintiffs of their right
22
     to receive information under the First Amendment to the United States Constitution.
23
            76.     Plaintiffs and the general public have no plain, adequate, or speedy remedy at law
24
     and are entitled to injunctive relief against defendants. Unless defendants are enjoined, plaintiffs
25
     and the general public will suffer irreparable injury and harm, in that the ability to study the La
26
     Jolla Skeletons will be lost forever. Plaintiffs are informed and believe that defendants will
27
     repatriate the remains to the La Posta Band of Mission Indians as soon as possible after January
28
     4, 2012, unless defendants are restrained by this Court. Plaintiffs are informed and believe that
                                               21
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1   the La Posta Band of Mission Indians will fail to maintain the skeletons in a manner that
 2   preserves their scientific value, and therefore the skeletons’ scientific value will be destroyed,
 3   unless defendants are restrained by this Court.
 4                                        PRAYER FOR RELIEF
 5          Petitioners and plaintiffs pray for judgment against respondents and defendants as
 6   follows:
 7          1.      On the petition for writ of traditional mandamus, or in the alternative, writ of
 8   administrative mandamus:
 9                  (a)     For a peremptory writ directing respondents to set aside the Notice of
10          Inventory Completion of October 22, 2008 and December 5, 2011, respectively; AND
11                  (b)     For a peremptory writ directing respondents to make a formal
12          determination whether or not the La Jolla Skeletons are “Native American” within the
13          meaning of NAGPRA; AND
14                  (c)     For a peremptory writ directing respondents to set aside and cease and
15          desist from any actions taken to implement the decision to transfer possession of the La
16          Jolla Skeletons to the La Posta Band of Mission Indians, unless and until respondents
17          have made a formal determination that the remains are “Native American” within the
18          meaning of NAGPRA.
19   OR IN THE ALTERNATIVE:
20                  (a)     For a peremptory writ directing respondents to set aside the Notice of
21          Inventory Completion of October 22, 2008 and December 5, 2011, respectively; AND
22                  (b)     For a peremptory writ prohibiting respondents from transferring
23          possession of the La Jolla Skeletons to the La Posta Band of Mission Indians, on the
24          ground that they are not “Native American” within the meaning of NAGPRA.
25          2.      On the first cause of action for declaratory and injunctive relief:
26                  (a)     A declaration, order and judgment that the La Jolla Skeletons are not
27          “Native American” within the meaning of NAGPRA; AND
28

                                               22
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1                (b)      A declaration, order and judgment that defendants, in attempting to
 2         transfer possession of the La Jolla Skeletons to the La Posta Band of Mission Indians,
 3         acted arbitrarily and without jurisdiction or authority, and that defendants’ decision to
 4         approve such transfer, and all subsequent actions to implement such transfer, are illegal,
 5         invalid, null and void; AND
 6                (c)      A preliminary and permanent injunction requiring defendants to set aside
 7         and cease and desist from any and all actions implementing the decision to transfer
 8         possession of the La Jolla Skeletons to the La Posta Band of Mission Indians; AND
 9                (d)      A permanent injunction prohibiting defendants from taking any action in
10         the future to approve or implement a transfer of possession of the La Jolla Skeletons to
11         the La Posta Band of Mission Indians, or any other Native American tribe.
12         3.     On the second cause of action for breach of trust:
13                (a)      A declaration, order and judgment defendants’ actions constituted a breach
14         of trust; AND
15                (b)      A preliminary and permanent injunction requiring defendants to perform
16         their duties as trustees of the UNIVERSITY and protect the UNIVERSITY’s research
17         assets from destruction; AND
18                (c)      A preliminary and permanent injunction requiring defendants set aside and
19         cease and desist from any and all actions implementing the decision to transfer
20         possession of the La Jolla Skeletons to the La Posta Band of Mission Indians; AND
21                (d)      A permanent injunction prohibiting defendants from taking any action in
22         the future to approve or implement a transfer of possession of the La Jolla Skeletons to
23         the La Posta Band of Mission Indians, or any other Native American tribe.
24         4.     On the third cause of action for violation of the First Amendment:
25                (a)      A declaration, order and judgment that defendants’ actions violate
26         plaintiffs’ First Amendment right to receive information; AND
27                (b)      A preliminary and permanent injunction requiring defendants to set aside
28         and cease and desist from any and all actions implementing the decision to transfer
                                               23
     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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 1         possession of the La Jolla Skeletons to the La Posta Band of Mission Indians; AND
 2                (c)     A permanent injunction prohibiting defendants from taking any action in
 3         the future to approve or implement a transfer of possession of the La Jolla Skeletons to
 4         the La Posta Band of Mission Indians, or any other Native American tribe.
 5         5.     For petitioners’ and plaintiffs’ costs of suit;
 6         6.     For petitioners’ and plaintiffs’ attorneys’ fees; AND
 7         7.     For any other and further relief that this Court may deem just and proper.
 8   DATED: May 23, 2012                              McMANIS FAULKNER
 9

10                                                    /s/ Christine Peek
11                                                    JAMES MCMANIS
                                                      CHRISTINE PEEK
12
                                                      Attorneys for Petitioners and Plaintiffs,
13
                                                      TIMOTHY WHITE,
14                                                    ROBERT L. BETTINGER, and
                                                      MARGARET SCHOENINGER
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     PETITION FOR WRIT OF MANDAMUS, OR IN THE ALT., FOR WRIT OF ADMIN. MANDAMUS; FIRST
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                              EXHIBIT A
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                                                                                     University of California
                                                                                     May I, 2001


    UNIVERSITY OF CALIFORNIA POLICY AND PROCEDURES ON CURATION AND
          REPATRIATION OF HUMAN REMAINS AND CULTURAL ITEMS

I. GENERAL PRINCIPLES

It is the policy of the University of California to assure tl1e respectful and dignified treatment of human
remains and the consideration of living descendants of those deceased. The University recognizes that
individuals and communities have cultural and religious concerns that must be considered in detem1ining the
treatment and disposition of human remains in its collections.

At the same time, the University's collections of human remains and cultural items serve valuable
educational and research purposes important to the enhancement of knowledge in various disciplines. The
University maintains these collections as a public trust and is responsible for preserving them according to
the highest standards while fulfilling its mission to provide education and understanding about the past and
present through continued teaching, research and public service.

The general principles of this policy, as stated above, apply to all human remains in the University's
collections. 1l1e remainder of this policy pertains to Native American and Native Hawaiian human remains
and "cultural items." "Cultural items," as used throughout this policy, refers to associated and unassociated
funerary objects, sacred objects, and objects of cultural patrimony, as defined by the federal Native
American Graves Protection and Repatriation Act ("NAGPRA;" P.L. 101-601). This policy is intended to
ensure both adherence to the above statement of principles and compliance with NAGPRA.

II. POLICY REGARDING NATIVE AMERICAN HUMAN REMAINS AND CULTURAL
ITEMS

It is the policy of the University of California to respect Native American and Native Hawaiian concerns
regarding the treatment and disposition of Native American and Native Hawaiian remains and cultural
items that are part of the University's collections, and to repatriate such remains and cultural items to lineal
descendants (as defined by NAGPRA), Indian tribes, and Native Hawaiian organizations under specified
conditions, in accordance with federal and state law.

With respect to implementation of the requirements ofNAGPRA, Indian tribes are defined as federally-
recognized tribes (that is, as any tribe, band, nation or community of Indians "recognized as eligible for the
special programs and services provid~d by the United States to Indians because of their status as Indians")
[43 CFR Part l 0, Subpart A, §I 0.2 (b) (2)].

NAGPRA does not give standing to non-federally-recognized groups to seek repatriation of human
remains or cultural items. However, in the event that the State of California develops a process for
according official state recognition for repatriation purposes to Native American tribes, bands, nations,
rancherias or other entities that is consistent with state and federal law including the California and United


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States constitutions, the University, in addition to repatriating to federally-recognized tribes under specified
conditions, will also repatriate to such state-recognized tribes under specified conditions and to the extent
permissible under law.

l11e University recognizes the right of all native peoples, including non-federally-recognized tribes, to make
inquiries to its museums about possible cultural relationships to the human remains and cultural items in its
collections, to visit the collections, and to study them under normal museum procedures. The University
recognizes that the participation of such groups may lend a different and vital perspective to the present
understanding of scholars and others studying the collections and also that such participation may allow
Native Americans and Native Hawaiians to enrich their own cultural knowledge.

Ilf. UNIVERSITY ADVISORY GROUP ON CULTURAL AFFILIATION AND
REPATRIATION OF HUMAN REMAINS AND CULTURAL ITEMS

A.    Composition. The President or the President's designee shall establish a University Advisory Group
      on Cultural Affiliation and Repatriation of Human Remains and Culturalltems ("Advisory Group"),
      which shall be composed of one University faculty member delegated principal responsibility for
      compliance with this policy from each of those campuses that house collections covered by
      NAGPRA, and two Native American members to be selected by the President or designee from
      among nominees submitted by each campus. The Vice Provost for Research (or designee) will be
      the UC Office of the President liaison to the Advisory Group.

B.    Responsibilities. The Advisory Group shall:

       I. Review and advise the President or designee regarding campus implementation of and
       compliance with this policy and related applicable law and regulations;

       2. Review campus decisions regarding potential cultural affiliation and repatriation ofNative
       American or Native Hawaiian remains and cultural items, and report its findings and
       recommendations to the President or designee;

       3. Make recommendations to the President or designee for revisions to this policy and any
       associated guidelines; and

       4. Assist in the resolution of disputes that may arise in connection with this policy.

C.     Additional input. Campuses are encouraged to solicit input on significant policy matters, as
       appropriate, from members of Native American and Native Hawaiian groups and from additional
       University faculty members drawn from a variety of disciplines in which the study, treatment,
       curation, and repatriation of human remains is relevant. Campuses are encouraged to forward input
       received from such consultations to the Office of the President via their Advisory Group
       representative.

The following procedures and criteria shall be utilized to in1plement this policy:




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                                                                              (

IV. REVIEW OF COLLECTIONS: INVENTORIES AND SUMMARIES

A.   Inventories of Native American and Native Hawaiian human remains imd associated
     funerary objects.

     In accordance with NAGPRA, each campus with Native American or Native Hawaiian human
     remains and associated funerary objects shall complete inventories of all such remains and
     associated funerary objects in its collections by reviewing existing documentation. Campus
     inventories shall draw on the best available academic expertise and involve consultation with tribal
     authorities representing Native American and Native Hawaiian groups. The inventories shall include
     descriptions of human remains and assocjated funerary objects and shall, to the extent possible,
     identifY the geographical and cultural affiliation of those human remains and associated cultural
     items, as required by NAGPRA.

     Final campus inventories and notices of inventory completion shall be transmitted to the Advisory
     Group and to the President or designee upon completion. Upon approval, the President or
     designee shall direct the campus to make them available to federal agencies and to lineal
     descendants, Native American tribes and Native Hawaiian organizations, as required by law.

     Upon request by lineal descendants or appropriate tribal authorities, the campus shall provide
     additional available documentation to supplement the infonnation provided in the campus
     inventories. Existing infonnation is sufficient to fulfill this requirement; no additional scientific studies
     need be undertaken to provide such infonnation.

B.   Summaries of unassociated funerary objects, sacred objects, and objects of cultural
     patrimony.

     In accordance with NAGPRA, each campus shall complete a written summary of Native American
     and Native Hawaiian unassociated funerary objects, sacred objects, and objects of cultural
     patrimony held in its collections. These summaries provide a basis for further consultations with
     Native American and Native Hawaiian tribal authorities to detennine cultural affiliation. Final
     campus summaries shall be submitted to federal agencies, lineal descendants, Native American
     tribes and Native Hawaiian organizations, as required by law.

     Upon request by lineal descendants or appropriate tribal authorities, the campus shall provide
     access to records, catalogues, relevant studies, or other pertinent data for the purpose of
     detennining the geographic origin, cultural affiliation and basic facts surrounding the acquisition and
     accession of objects covered in the summary.

C.   Updates to inventories and summaries.

     In the course of the review of their collections and of continuing NAGPRA implementation efforts,
     campuses may detennine that their inventories or summaries require additions or revisions. Such
     revisions to campus inventories shall be transmitted to the Advisory Group and to the President or
     designee upon completion. Upon approval, the President or designee shall direct the campus to
     make them available to federal agencies and to the appropriate lineal descendants, Native American
     tribes and Native Hawaiian organizations.

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V. DETERMINATION OF CULTUR.AL AFFILIATION

To the extent possible, campus inventories and summaries shall identifY the cultural affiliation of human
remains, funerary objects, sacred objects, and objects of cultural patrimony, as defined by federal law.
"Cultural affiliation" refers to a relatioriship·of shared group identity that can be reasonably traced
historically or prehistorically between a present-day Native Hawaiian organization or federally-recognized
Indian tribe and an identifiable earlier group.

Under NAGPRA, all of the following requirements must be met to determine cultural affiliation between a
present-day Indian tribe or Native Hawaiian organization and human remains, funerary objects, sacred
objects, or objects of cultural patrimony of an earlier group:

A.     Existence of an identifiable present-day Indian tribe or Native Hawaiian organization with standing
       under NAGPRA;

A.     Existence of an identifiable earlier group; and

B.     Existence of a shared group identity that can be reasonably traced between the present-day Indian
       tribe or Native Hawaiian organization and the earlier group. Evidence to support this requirement
       must establish that a present-day Indian tribe or Native Hawaiian organization has been identified
       from prehistoric or historic times to the present as descending from the earlier group.

Evidence to establish cultural affiliation may include biological, geographical, kinship, archaeological,
anthropological, linguistic, folkloric, oral tradition, historical, or other relevant information or expert
opinion. All campus determinations of cultural affiliation shall be reviewed by the Advisory Group, which
shall make a recommendation to the President or designee regarding final determinations.

In accordance with NAGPRA, remains and cultural items that cannot be identified as affiliated with a
particular lineal descendent or federally-recognized Indian tribe or Native Hawaiian organization are to be
classified on inventories as culturally unidentifiable.

Tribal authorities shall be permitted reasonable access to examine items in the University's collections in
order to evaluate the cultural affiliation of items listed in the inventory as culturally unidentifiable. They shall
also be given reasonable opportunity, upon request, to present their views orally or in writing to campus
officials responsible for NAGPRA implementation regarding the identification of any such human remains,
funerary objects, sacred objects, or objects of cultural patrimony. The perspectives of such tribal
authorities shall be considered in determining cultural affiliation.

VI. REQUESTS FOR REPATRIATION

A.    General

      Campus review of repatriation requests shall reflect consideration of academic expertise and Native
      American or Native Hawaiian viewpoints, and shall provide for consultation with requesting


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     individuals or tribes, as required by NAGPRA.

     All campus detenninations of cultural affiliation and all campus detenninations regarding repatriation
     requests made pursuant to this policy shall be reviewed by the Advisory Group, which shall report
     its fmdings and recommendations to the President or designee. The President or designee shall have
     final authority to approve or disapprove determinations regarding disposition of remains and cultural
     items in University collections. The University shall follow guidelines and procedures for
     implementing repatriation that are in accordance with accepted professional museum standards and
     federal and state law and regulations. Campuses may proceed with the deaccession and
     repatriation of materials in the University's collections, pursuant to this policy, after obtaining the
     written approval for such action from the President or designee.

B.   Requests from Lineal Descendants and Federally-recognized Indian Tribes and Native
     Hawaiian Organizations.

     Upon the written request of a lineal descendant, Indian tribe or Native Hawaiian organization, the
     University will expeditiously repatriate human remains, funerary objects, sacred objects, and objects
     of cultural patrimony if lineal descent has been. established or if cultural affiliation between the
     requesting tribe or organization and the requested remains or cultural items has been established in
     accordance with federal law and if all other requirements for repatriation of such human remains or
     cultural items as set forth in federal law are met.

C.   Requests from California-recognized Indian tribes.

     In the case of a written request from an Indian tribe, band, nation, rancheria, reservation or other
     entity that is California-recognized but not federally-recognized, the University will expeditiously
     repatriate human remains, funerary objects, sacred objects, and objects of cultural patrimony if it is
     established that all requirements for repatriation under the federal law have been met except the
     requirement that the requesting tribe or group be federally-recognized.

     In order for repatriation to a non-federally-recognized California-recognized tribe to take place, it
     must be determined that:

     I . "Cultural association" exists; i.e., affiliation between the requesting tribe and the requested
         remains or cultural items would have been established in accordance with federal law if the
         requesting tribe were federally-recognized. In order for this criterion to be met, it must be
         determined that the requesting tribe is an identifiable present-day tribe, and that there is evidence
         establishing that the requesting tribe has been identified from prehistoric or historic times to the
         present as descended from an identifiable earlier group from whom the requested human remains
         or cultural items originated; and

     2. The standards for repatriation of such human remains or cultural items as set forth in federal law
        are met.

     'In addition, in the case of human remains that meet the above criteria and that have been (or should

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     have been) reported on the campus inventory as "culturally unidentifiable," the University will consult
     with the Secretary of the'Interior ("Secretary"), and will proceed with repatriation only upon
     recommendation of the Secretary, as specified in federal law. The University also will consult with
     the Secretary prior to repatriating cultural items that have been (or that should have been) reported
     on the campus inventory as "culturally unidentifiable," and will proceed with repatriation only upon
     recommendation of the Secretary. Prior to any repatriation under this section, the University will
     seek to notifY all other Native American or Native Hawaiian tribes or organizations that have been
     detennined to have a potential interest in the requested remains or cultural items. Repatriation will
     not take place until there has been a reasonable opportunity for other potentially-interested groups to
     notifY the University of any conflicting claims.

VII. Liaisons, Conflicts, and Mediation

A    Liaison.

     Each campus with a collection of Native American or Native Hawaiian remains, funerary objects,
     sacred objects, or objects of cultural patrimony shall designate a liaison to work with native
     communities considering or requesting repatriation from the University's collections. The liaison shall
     be a person familiar with NAGPRA and the repatriation process, and shall cultivate a positive
     relationship with Native American communities. It will be the responsibility of the liaison to make
     University collections ofNative remains and items accessible to all tribes, and to assist tribes in
     understanding and invoking the repatriation process. The liaison will assist tribes in planning for
     repatriation of culturally affiliated items. With respect to human remains and cultural items in campus
     collections that are categorized as "culturally unidentifiable," the liaison will facilitate examination of the
     items by tribal authorities.

B.   Resolution of Disputed Claims for Cultural Affiliation and Repatriation.

     Tribal authorities who disagree with detenninations regarding cultural affiliation (or cultural association)
     and repatriation are encouraged to work with campus museum officials at the campus where the
     remains or cultural items at issue are housed and with the campus liaison to resolve disputes. Tribal
     authorities shall be given reasonable opportunity, upon request, to present their views orally or in
     writing to campus auth6tities responsible for making detenninations relating to cultural affiliation and
     repatriation.

     Third-party mediation is encouraged to assist in efforts to reach agreement about disputed claims to
     items in the University's collections. Such mediation may include any means mutually agreed to by all
     parties to a repatriation discussion and approved by the Chancellor of the campus that houses the
     disputed items.

     Repatriation disputes remaining unresolved following initial dialogue among the parties shall be
     reviewed and decided by the Chancellor, subject to review by the President or designee. The
     President or designee may seek a recommendation from the University Advisory Group, and shall
     have fmal authority regarding disposition ofNative American remains and cultural items in University
     collections, in accordance with this policy and applicable laws and regulations.

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C.    Multiple Claims for Repatriation.

      Where ·there are multiple requests for repatriation, and where the University is unable to determine
      which requesting party is the most appropriate claimant, the University shall retain and preserve the
      human remains or cultural items until the requesting parties reach agreement on proper disposition or
      until the dispute is resolved by mediation, a court of competent jurisdiction, or other appropriate
      means. The parties may choose mediation by a third party, which may be the NAGPRA Review
      Committee established by federal law or other appropriate entity mutually agreeable to the disputants.


      In cases involving multiple repatriation claims, the Native American claimants may determine for
      themselves the proper disposition of the remains or cultural items. Once the multiple claimants agree
      upon a proper disposition, and once the University is provided with assurance of protection against
      multiple liability (either under the provisions ofNAGPRA or under an agreement among the
      claimants), the University will repatriate to the Native American tribe specified in such an agreement,
      provided that the tribe is one that has been determined by the University to be entitled to repatriation
      under this policy. If the conflict is not resolved by this means, then the matter may be resolved by a
      court of competent jurisdiction through a declaratory or interpleader action, or by other appropriate
      means.

VIII. TEACHING AND RESEARCH USE OF REMAINS AND CULTURAL ITEMS IN
UNIVERSITY COLLECTIONS

Campuses are granted the authority to make decisions about the use ofNative American or Native
Hawaiian human remains, associated and unassociated funerary objects, sacred objects, and objects of
cultural patrimony in University collections for teaching and research purposes, subject to the following
guidelines:

A     Given the importance of the study of human osteology in archaeology, paleontology, and comparative
      morphology, and the importance of skeletal material in training students at the lower division, upper
      division and graduate level, campuses normally retain the discretion to use such items in teaching.
      Campuses are encouraged to take into consideration the views and concerns ofNative American and
      Native Hawaiian representatives when making decisions regarding the teaching and research use of
      Native American and Native Hawaiian skeletal materials.

B.    Remains and cultural items covered by this policy shall normally remain accessible for research by
      qualified investigators, subject to approval by the curator of the relevant campus collection.

C.    Once a repatriation request has been granted and actual repatriation is pending, the remains and
      cultural items covered by the request shall not be used in teaching or research unless expressly
      permitted by the tribal authority that has been granted jurisdiction over the materials, subject to
      exceptions provided by federal law.

D.    In circumstances in which cultural affiliation (or cultural association) has been established and other
      repatriation requirements have been met but in which an affiliated (or associated) tribe has chosen
      not to request repatriation, an affiliated (or associated) tribe may request that the affiliated (or

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      associated) remains or cultural items not be used for teaching or research. The decision of the
      affiliated (or associated) tribe as to whether the remains and cultural items can be used in teaching or
      research shall nonnally be accepted as final by the University, subject to exceptions provided by
      federal law.

Questions conceming the implementation of any part of this policy may be directed to the Vice Provost for
Research in the Office of the President.




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                               EXHIBIT B
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 75908                     Federal Register I Vol. 76, No. 233 I Monday, December 5, 2011 I Notices

 Determinations Made by the Minnesota         ACTION:   Notice.                            Indians·, California; Iipay Nation of
 Indian Affairs Council                                                                    Santa Ysabel, California (formerly the
                                              SUMMARY:    The Regents of the University    Santa Ysabel Band of Diegueno Mission
   Officials of the MIAC have                 of California on behalf of the University
 determined that;                                                                          Indians of the Santa Ysabel
                                              of California, San Diego, have               Reservation); Inaja Band ofDiegueno
   • Based on non-destructive physical        completed an inventory of human
analysis and catalogue records, the                                                        Mission Indians of the Inaja and Cosmit
                                              remains and associated funerary objects,     Reservation, California; Jamul Indian
human remains are Native American.            in consultation with the appropriate
   • Pursuant to 25 U.S.C. 3001(2), a                                                      Village of California; La Posta Band of
                                              Indian tribes, and have determined that      Diegueno Mission Indians of the La
relationship of shared group identity         there is no cultural affiliation between
cannot be reasonably traced between the                                                    Posta Indian Reservation, California;
                                              the remains and any present~day Indian       Manzanita Band of Diegueno Mission
Native American human remains and             tribe. Representatives of any Indian tribe
any present-day Indian tribe.                                                              Indians of the Manzanita Reservation,
                                              that believes itself to be culturally        California; Mesa Grande Band of
   • According to final judgments of the      affiliated with the human remains may
Indian Claims Commission, the land                                                         Diegueno Mission Indians of the Mesa
                                              contact the University of California, San    Grande Reservation, California; San
from which the Native American human          Diego. Disposition of the human
remains and associated funerary objects                                                    Pas qual Band of Diegueno Mission
                                              remains and associated funerary objects      Indians of California; Sycuan Band of
were removed is the aboriginal land of        to the Indian tribes stated below may
The Tribes.                                                                                the Kumeyaay Nation; and the Viejas
                                              occur if no additional requestors come       (Baron Long) Group of Capitan Grande
   • Pursuant to 25 U.S.C. 3001(9), the
                                              forward.                                     Band of Mission Indians of the Viejas
human remains described in this noti"ce
represent the physical remains of two         DATES: Representatives of any Indian         Reservation, California (herein after
individuals of Native American                tribe that believes it has a cultural        referred to as "The Tribes").
ancestry.                                     affiliation with the human remains
                                              should contact the University of             History and Description of the Remains
   • Pursuant to 25 U.S.C. 3001(3)(A),
the one object described above is             California, San Diego at the address            In 1976, human remains representing,
reasonably believed to have been placed·      below by January 4, 2012.                    at minimum, two individuals were
with or near individual human remains         ADDRESSES: Gary C. Matthews, Vice            removed from the University of
at the time of death or later as part of      Chancellor Resource Management &             California, San Diego's University
the death rite or ceremony.                   Planning, University of California, San      House site, in San Diego, CA. The site
   • Pursuant to 43 CFR 10.11(c)(1), the      Diego, 9500 Gilman Drive #0057, La           is variously referred to as the Black,
disposition of the human remains is to        Jolla, CA 92093-0057, telephone (858)        William House; SDM-W-12A (as
The Tribes.                                   534-6820.                                    recorded by the San Diego Museum of
                                              SUPPLEMENTARY INFORMATION: Notice is         Man): CA-SDI-4669 (as recorded with
Additional Requestors and Disposition                                                      the State of California); and NPS No.:
                                              hereby given in accordance with the
   Representatives of any Indian tribe        Native American Graves Protection and        08000343. No known individuals were
that believes itself to be culturally         Repatriation Act (NAGPRA), 25 U.S.C.         identified. The approximately 25
affiliated with the human remains or          3003, of the completion of an inventory      associated funerary objects consist of
any other Indian tribe that believes it       of human remains and associated              shell, stone, charcoal, and bone.
satisfies the criteria in 43 CFR              funerary objects in the possession of the    Determinations Made by the University
10.11(c)(1) should contact James L. (Jim)     University of California, San Diego. The     of California, San Diego
Jones, Cultural Resource Director,            human remains and associated funerary
Minnesota Indian Affairs Council, 3801        objects were removed from the                   Officials of the University of
Bemidji Avenue NW., Suite 5, Bemidji,         University of California, San Diego's        California, San Diego have determined
MN 56601, telephone (218) 755-3223,           University House site in San Diego           that:
before January 4, 2012. Disposition of        County, CA.                                     • The calibrated dates for the human
the human remains to The Tribes may              This notice is published as part of the   remains are believed to fall between
proceed after that date if no additional      National Park Service's administrative       8,977 and 9,603 years B.P.
requestors come forward.                      responsibilities under NAGPRA, 25               • The human remains are Native
   The Minnesota Indian Affairs Council       U.S.C. 3003(d)(3) and 43 CFR 10.11(d).       American.
is responsible for notifying The Tribes       The determinations in this notice are           • Pursuant to 25 U.S.C. 3001(2), a
that this notice has been published.          the sole responsibility of the museum,       relationship of shared group identity
  Dated: November 29, 2011.                   institution, or Federal agency that has      cannot be reasonably traced between the
Sherry Hutt,                                  control of the Native American human         Native American human remains and
Manager, National NAGPRA Program.             remains. The National Park Service is        any present-day Indian tribe.
                                              not responsible for the determinations          • Evidence indicates that the land
IFR Doc. 2011-31072 Filed 12-2-11; B:45 am]
                                              in this notice.                              from which the Native American human
BILLING CODE 4312-SQ-P
                                                                                           remains were removed is the aboriginal
                                              Consultation                                 land of the Diegueno (Kumeyaay) Tribe.
DEPARTMENT OF THE INTERIOR                      A detailed assessment of the human         As noted in the Schedule oflndian Land
                                              remains was made by University of            Cessions, on or about January 7, 1852,
National Park Service                         California professional staff in             the Diegueno (Kumeyaay) ceded to the
                                              consultation with representatives of the     United States an area that includes
[2253-665]                                                                                 present-day San Diego County.
                                              Barona Group of Capitan Grande Band
Notice of Inventory Completion: The           of Mission Indians of the Barona                • The present~day descendants of the
University of California, San DieQo,          Reservation, California; Campo Band of       Diegueno (Kumeyaay) are The Tribes.
San Diego, CA                                 Diegueno Mission Indians of the Campo           • Pursuant to 25 U.S.C. 3001(9), the
                                              Indian Reservation, California;              human remains described in this notice
AGENCY:   National Park Service, Interior.    Ewiiaapaayp Band of Kumeyaay                 represent the· physical remains of two
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individuals of Native Arn.erican              Disposition of the human remains to the      Additionally, a number of pre-historic
anc'estry.                                    Indian tribes stated below may occur if      sites are recorded in the immediate
   • Pursuant to 25 U.S.C. 3001(3)(A),        no additional requestors come forward.       vicinity. Cranial, dental and femora
the approximately 25 objects described        DATES: Representatives of any Indian         morphology identify the human remains
above are reasonably believed to have         tribe that believes it has a cultural        as American Indian. These human
been placed with or near individual           affiliation with the human remains           remains have no archeological
human remains at the time of death or         should contact the Minnesota Indian          classification and cannot be associated
later as part of the death rite or            Affairs Council at the address below by      with any present-day Indian tribe.
ceremony.                                     january 4, 2012.                                In 2009, human remains representing,
  • Pursuant to 43 CFR 10.11(c)(1), and                                                    at minimum, one individual were
                                              ADDRESSES: )ames L. (Jim) )ones,
based upon request from the Kumeyaay                                                       unearthed from an unknown site in
Cultural Repatriation Committee, on           Cultural Resource Director, Minnesota
                                              Indian Affairs Council, 3801 BEimidji        Warren, MN, during new horne
behalf of The Tribes, disposition of the                                                   construction. The human remains were
human remains is to the La Posta Band         Avenue NW., Suite 5, Bemidji, MN
                                              56601, telephone (218) 755-3223.             transferred to the Marshall County
of Diegueno Mission Indians of the La                                                      Sheriffs Department, to the Minnesota
Posta Indian Reservation, California.         SUPPLEMENTARY INFORMATION: Notice is
                                                                                           Bureau of Criminal Apprehension
                                              here given in accordance with the            Laboratory, and then to the Human
Additional Requestors and Disposition         Native American Graves Protection and        Identification Laboratory at the
  Representative.s of any Indian tribe        Repatriation Act (NAGPRA), 25 U.S.C.         University of North Dakota for
that believes itself to be culturally         3003, of the completion of an inventory      identification. The human remains were
affiliated with the human remains or          of human remains in the possession of        then transferred to the MIAC (H443). No
any other Indian tribe that believes it       the Minnesota Indian Affairs Council         known individuals were identified. No
satisfies the criteria in 43 CFR              (MIAC). The human remains were               associated funerary objects are present.
10.11(c)(1) should contact Gary C.            removed from Marshall County, MN.               The burial context and morphology of
Matthews, Vice Chancellor Resource               This notice is published as part of the   the human remains suggest
Management & Planning, University of          National Park Service's administrative       identification as pre·contact American
California, San Diego, 9500 Gilman            responsibilities under NAGPRA, 25            Indian. These human remains have no
Drive #0057, La jolla, CA 92093-0057,         U.S.C. 3003(d)(3) and 43 CFR 10.11(d).       archeological classification and cannot
telephone (858) 534-6820, before              The determinations in this notice are        be associated with any present·day
January 4, 2012. Disposition of the           the sole responsibility of the museum,       Indian tribe.
human remains to the La Posta Band of         institution, or Federal agency that has
Diegueno Mission Indians of the La            control of the Native American human         Determinations Made by the Minnesota
Posta Indian Reservation, California          remains. The National Park Service is        Indian Affairs Council
may proceed after that date if no             not responsible for the determinations          Officials of the MIAC have
additional requestors come forward.           in this notice.                              determined that:
  The University of California, San           Consultation                                    • Based on non-destructive physical
Diego is responsible for notifying The                                                     analysis and catalogue records, the
Tribes that this notice has been                A detailed assessment of the human         human remains are Native American.
published.                                    remains was made by the MIAC                    • Pursuant to 25 U.S.C. 3001(2), a
  Dated: November 29, 2011.
                                              professional staff in consultation with      relationship of shared group identity
                                              representatives of the Lower Sioux           cannot be reasonably traced between the
Sherry Hutt,
                                              Indian Community in the State of             Native American human remains and
Manager, National NAGPRA Program.             Minnesota; Prairie Island Indian
[FR Doc. 2011-31068 Filed 12-2-11; 8:45am]
                                                                                           any present·day Indian tribe.
                                              Community in the State of Minnesota;            • According to final judgments of the
BILLING CODE 4312-SQ-P                        Red Lake Band of Chippewa Indians,           Indian Claims Commi.ssion, the land
                                              Minnesota; Sisseton-Wahpeton Oyate of        from which the Native American human
                                              the Lake Traverse Reservation, South         remains were removed is the aboriginal
DEPARTMENT OF THE INTERIOR                    Dakota; Turtle Mountain Band of              land of The Tribes:
National Park Service                         Chippewa Indians of North Dakota                • Pursuant to 25 U.S.C. 3001(9), the
                                              (hereinafter referred to as "The Tribes").   human remains described in this notice
[2253-665]                                                                                 represent the physical remains of four
                                              History and Description of the Remains
Notice of Inventory Completion:                                                            individuals of Native American
                                                 In 1998, human remains representing,      ancestry.
Minnesota Indian Affairs Council,             at minimum, three individuals were              • Pursuant to 43 CFR 10.11(c)(1), the
Bemidji, MN                                   recovered from site 21-MA-70, Wright         disposition of the human remains is to
AGENCY: National Park Service, Interior.      Quarry, in Marshall County during            The Tribes.
ACTION: Notice.                               gravel quarrying operations by the
                                              Marshall County Highway Department.          Additional Requestors and Disposition
SUMMARY:    The Minnesota Indian Aff?irs      In 1999, the human remains were                Representatives of any Indian tribe
Council has completed an inventory of         transferred tO the Minnesota Office of       that believes itself to be culturally
human remains in consultation with the        the State Archaeologist. In 2002, the        affiliated with the human remains or
appropriate Indian tribes, and has            human remains were transferred to the        any other Indian tribe that believes it
determined that there is no cultural          MIAC (H375). No known individuals            satisfies the criteria in 43 CFR
affiliation between the remains and any       were identified. No associated funerary      10.11(c)(1) should contact james L. (Jim)
pre.sent-day Indian tribe.                    objects are present.                         Jones, Cultural Resource Director,
Representatives of any Indian tribe that        Examination of the site context by         Minnesota Indian Affairs Council, 3801
believes itself to be culturally affiliated   professional staff of the Minnesota          Bemidji Avenue NW., Suite 5, Bemidji,
with the human remains may contact            Office of the State Archaeologist            MN 56601, telephone (218) 755-3223,
the Minnesota Indian Affairs Council.         suggests a pre·contact burial site.          before January 4, 2012. Disposition of
